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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       :
                                                                                  90
       v.                                      :                       XX
                                                      CRIMINAL NO. WMN-09-0454

MELVIN A. FORD                                 :

                                      Memorandum and Order

       The Court has reviewed a Motion For Termination filed by Melvin A. Ford on February

29, 2012, seeking termination of the 5 year term of supervised release which commenced on

February 6, 2012.

       Mr. Ford was initially sentenced to a term of 360 months incarceration on November 6,

1992, with a term of supervised release of 5 years to follow. The term of incarceration was

reduced to 292 months on December 5, 1996. Pursuant to Title 18 USC, Sec. 3582 ( c ) ( 2 )

and Amendment 750 to the sentencing guidelines set forth at USSG Sec. 1B1.10, Mr. Ford’s

sentence was further reduced to time served on February 2, 2012 with five years of supervised

release which commenced on February 6, 2012.

       Mr. Ford argues that a timely recognition of his right to his latest sentence reduction

would have put him on a supervised release track whereby his five year term would have expired

at this point. His motion is further based on his claim that he has been fully rehabilitated as a

stable and productive member of society.

       Based upon a Memorandum report from the U. S. Probation office and a recommendation

from the Chief of the Criminal Division of the U. S. Attorney’s office in Maryland, along with

the Court’s own recollection of Mr. Ford from the lengthy proceedings culminating in his

conviction, the Court is confident in the conclusions that Mr. Ford’s re-entry into society has

shown stability and promise for success in the long run. However, the Court agrees with the
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views of the Probation officer and Assistant U. S. Attorney, especially after such a lengthy

period of incarceration, that termination at this point would be premature. In the event that there

is a continued demonstration of stability and responsibility for a twelve month period,

commencing from February 6, 2012, the Court will give further consideration to a supplemental

petition, if requested to do so, for early termination of supervised release.

       Accordingly, IT IS, this 21st day of March, 2012, by the United States District Court for

the District of Maryland, ORDERED that the motion presently before the Court is DENIED.

       The Clerk is directed to provide copies of this Memorandum and Order to all parties.

                                                             /s/
                                               __________________________
                                               William M. Nickerson
                                               Senior U. S. District Judge
